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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

      In re:                                          §           Case No. 23-11007-cgb
                                                      §
      ARTIUSID, INC.,                                 §           Chapter 7
                                                      §
                Debtor.                               §

                        COLLABORATIVE VISION LLC’S
       AMENDED WITNESS AND EXHIBIT LIST FOR SEPTEMBER 25, 2024, HEARING
                          (re: Dkt. Nos. 83, 88, 99, 114)

  TO:          THE HONORABLE CHRISTOPHER G. BRADLEY,
               UNITED STATES BANKRUPTCY JUDGE

               Collaborative Vision LLC (“Collaborative Vision”), by and through its undersigned

  counsel, hereby files this amended1 witness and exhibit list (the “Amended Witness and Exhibit

  List”) for the hearing scheduled for September 25, 2024, at 1:30 p.m. (the “Hearing”) to

  consider, among other things, the Order Abating Proceedings on Debtor’s Motion for Rehearing,

  Granting Stay of Order for Relief Pending Ruling on Consensual Dismissal of Involuntary Case,

  and Setting Procedures for Approval of Dismissal [Dkt. No. 83], Consent Stipulation and Motion

  for Dismissal of Involuntary Petition Under Chapter 7 [Dkt. No. 88], and Collaborative Vision

  LLC’s Objection to Consent Stipulation and Motion for Dismissal of Involuntary Petition Under

  Chapter 7 [Dkt. No. 99].

                                               WITNESSES

               Collaborative Vision designates the following individual(s) who may be called as a

  witness at the hearing (exclusive of those that may be used for impeachment purposes):

               1.    Lisa Matar

               2.    Michael Marcotte

  1
   This Amended Witness and Exhibit List amends Docket No. 114 to designate the Marcotte Declarations filed at
  Docket Nos. 71 and 84 as Collaborative Vision’s Exhibit Nos. CV-014 and CV-015.

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           3.        Any witness called or listed by any other party.

           4.        Any rebuttal witnesses as needed.

           Collaborative Vision reserves the right to call any witness designated by any other party

  and any witness necessary for impeachment or rebuttal.

                                                    EXHIBITS

           Collaborative Vision designates the following exhibits that may be offered into evidence

  and used at the Hearing (exclusive of those that may be used for impeachment or rebuttal

  purposes):


        EX. #                         DESCRIPTION OF EXHIBIT                   OFFERED   OBJECTION   ADMITTED


      CV-001       Client Service Agreement [Dkt. 99-1]

      CV-002       Addendum to the Client Service Agreement [Dkt. 99-2]

      CV-003       Unpaid Invoices Chart [Dkt. 99-3]

                   Note Purchase Agreement and Nonnegotiable Promissory Note
      CV-004
                   [Dkt. 99-4]
      CV-005       Email Correspondence [Dkt. 99-5]

      CV-006       Oregon Complaint [Dkt. 99-6]

      CV-007       Oregon Scheduling Order [Dkt. 99-7]

      CV-008       Count Three Settlement Officer [Dkt. 99-8]

      CV-009       Notice of Involuntary Bankruptcy Case [Dkt. 99-9]

      CV-010       Skypoint Claim Email

      CV-011       Articles of Conversion of Q5id, Inc.

      CV-012       Bradley J. Krupica Declaration

      CV-013       Peter D. Hawkes Declaration

      CV-014       Michael Frederick Marcotte July 29 Declaration [Dkt. 71]

      CV-015       Michael Frederick Marcotte August 9 Declaration [Dkt. 84]


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        EX. #                        DESCRIPTION OF EXHIBIT                      OFFERED   OBJECTION   ADMITTED



                   Any exhibit designated by any other party.

                   Any pleading or other document filed with the Court on the
                   docket of the above-captioned chapter 11 case.
                   Any exhibit necessary to rebut the evidence or testimony of
                   any witness offered or designated by any other party.

           Collaborative Vision asks that the Court take judicial notice of the pleadings and

  transcripts filed in the proceedings before this Court, including without limitation any and all

  orders, motions, proofs of claim, and other pleadings, and any exhibits thereto. Collaborative

  Vision reserves the right to use additional demonstrative exhibits as they deem appropriate in

  connection with the Hearing. Collaborative Vision reserves the right to use any exhibits

  presented by any other party. Collaborative Vision reserves the right to further amend and/or

  supplement this Amended Witness and Exhibit List. Collaborative Vision reserves the right to

  use exhibits not listed herein for impeachment purposes at the Hearing.

  Dated: September 23, 2024.                         Respectfully Submitted,

                                                     By: /s/ Lynn Hamilton Butler
                                                     Lynn Hamilton Butler (SBN 03527350)
                                                     lynn.butler@huschblackwell.com
                                                     HUSCH BLACKWELL LLP
                                                     111 Congress Ave., Suite 1400
                                                     Austin, Texas 78701
                                                     (512) 472-5456
                                                     (512) 479-1101 facsimile

                                                     -and-




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                                      Thomas J. Zavala (SBN 24116265)
                                      tom.zavala@huschblackwell.com
                                      HUSCH BLACKWELL LLP
                                      1900 N. Pearl Street, Suite 1800
                                      Dallas, Texas 75201
                                      (214) 999-6100
                                      (214) 999-6170 facsimile

                                      Attorneys for Collaborative Vision LLC




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                                  CERTIFICATE OF SERVICE

           I do hereby certify that on September 23, 2024, the undersigned counsel served a true and
  correct copy of this Amended Witness and Exhibit List for September 25, 2024 Hearing through
  the Court’s CM/ECF system on all parties enlisted to receive service electronically, as set out on
  the list below.


                                                              /s/ Lynn Hamilton Butler
                                                              Lynn Hamilton Butler

  ArtiusID, Inc.                                         Mark D. Bloom
  801 Barton Springs                                     Baker McKenzie LLP
  Austin, TX 78704                                       1111 Brickell Ave
  Tax ID / EIN: XX-XXXXXXX                               Ste 10th Floor
                                          represented by
  Added: 11/30/2023                                      Miami, FL 33131
  (Debtor)                                               305-789-8900
                                                         mark.bloom@bakermckenzie.com
                                                         Assigned: 07/30/24
                                                           Alexander D. Burch
                                                           Baker McKenzie LLP
                                                           700 Louisiana, Suite 3000
                                                           Houston, TX 77002
                                                           713-427-5038
                                                           713-427-5099 (fax)
                                                           alexander.burch@bakermckenzie.com
                                                           Assigned: 07/29/24
                                                           Robert T DeMarco, III
                                                           Robert Demarco
                                                           12770 Coit Road, Suite 850
                                                           Dallas, TX 75251
                                                           972-991-5591
                                                           robert@demarcomitchell.com
                                                           Assigned: 03/30/24
                                                           Eric A Liepins
                                                           Legal Aid of Northwest Texas
                                                           1515 Main Street
                                                           Dallas, TX 75201
                                                           214-243-2231
                                                           liepinse@lanwt.org
                                                           Assigned: 12/19/23




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  Collaborative Vision, LLC                         Lynn Hamilton Butler
  c/o Kell C. Mercer, PC                            Husch Blackwell LLP
  901 S Mopac Expy Bldg 1 Ste 300                   111 Congress Avenue, Suite 1400
  Austin, TX 78746                                  Austin, TX 78701
                                     represented by
  (512) 767-3214                                    (512) 479-9758
  kell.mercer@mercer-law-pc.com                     (512) 226-7318 (fax)
  Added: 01/07/2024                                 lynn.butler@huschblackwell.com
  (Creditor)                                        Assigned: 08/21/24
                                                      Kell C. Mercer
                                                      Kell C. Mercer, P.C.
                                                      901 S MoPac Expy, Bldg 1, Suite 300
                                                      Austin, TX 78746
                                                      512-627-3512
                                                      512-597-0767 (fax)
                                                      kell.mercer@mercer-law-pc.com
                                                      Assigned: 01/07/24
  Goldstein Consulting Services, LLC                  Jason Bradley Binford
  4445 Post Road, Apt. 5D                             Ross, Smith & Binford, PC
  New York, NY 10471                                  2901 Via Fortuna, Bldg. 6, Suite 450
  Added: 11/30/2023                                   Austin, TX 78746
                                     represented by
  (Petitioning Creditor)                              512-351-4778
                                                      214-377-9409 (fax)
                                                      jason.binford@rsbfirm.com
                                                      Assigned: 11/30/23
                                                      Michael Conway
                                                      Lazare Potter Giacovas & Moyle LLP
                                                      747 Third Ave., 16th Floor
                                                      New York, NY 10017
                                                      917-242-1597
                                                      mconway@lpgmlaw.com
                                                      Assigned: 01/23/24
                                                      Ana Pia D. Felix
                                                      Lazare Potter Giacovas Moyle LLP
                                                      747 Third Avenue, 16th Floor
                                                      New York, NY 10017
                                                      212-758-9300
                                                      afelix@lpgmlaw.com
                                                      Assigned: 02/07/24




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  Rearc LLC                                      Jason Bradley Binford
  1216 Broadway, Suite 218                       Ross, Smith & Binford, PC
  New York, NY 10001                             2901 Via Fortuna, Bldg. 6, Suite 450
  Added: 11/30/2023                              Austin, TX 78746
                                  represented by
  (Petitioning Creditor)                         512-351-4778
                                                 214-377-9409 (fax)
                                                 jason.binford@rsbfirm.com
                                                 Assigned: 11/30/23
                                                 Michael Conway
                                                 Lazare Potter Giacovas & Moyle LLP
                                                 747 Third Ave., 16th Floor
                                                 New York, NY 10017
                                                 917-242-1597
                                                 mconway@lpgmlaw.com
                                                 Assigned: 01/23/24
                                                 Ana Pia D. Felix
                                                 Lazare Potter Giacovas Moyle LLP
                                                 747 Third Avenue, 16th Floor
                                                 New York, NY 10017
                                                 212-758-9300
                                                 afelix@lpgmlaw.com
                                                 Assigned: 02/07/24
  Ron Satija
                                                 Todd Brice Headden
  P.O. Box 660208
                                                 Hayward PLLC
  Austin, TX 78766
                                                 7600 Burnet Road, Suite 530
  512-733-1311
                                  represented by Austin, TX 78757
  512-733-1311 (fax)
                                                 737-881-7104
  rsatija@haywardfirm.com
                                                 theadden@haywardfirm.com
  Added: 07/25/2024
                                                 Assigned: 08/14/24
  (Trustee)
                                                 Ron Satija
                                                 Hayward PLLC
                                                 7600 Burnet Road, Suite 530
                                                 Austin, TX 78757
                                                 (737) 881-7102
                                                 (972) 755-7100 (fax)
                                                 rsatija@haywardfirm.com
                                                 Assigned: 08/22/24




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  United States Trustee - AU12
  United States Trustee                            Shane P. Tobin
  903 San Jacinto Blvd, Suite 230                  903 San Jacinto Blvd., Room 230
  Austin, TX 78701                                 Austin, TX 78701
                                    represented by
  (512) 916-5330                                   512-916-5348
  ustpregion07.au.ecf@usdoj.gov                    shane.p.tobin@usdoj.gov
  Added: 11/30/2023                                Assigned: 09/05/24
  (U.S. Trustee)
  Xmogrify, LLC                                    Jason Bradley Binford
  23 Arden Drive                                   Ross, Smith & Binford, PC
  Hartsdale, NY 10503                              2901 Via Fortuna, Bldg. 6, Suite 450
  Added: 11/30/2023                                Austin, TX 78746
                                    represented by
  (Petitioning Creditor)                           512-351-4778
                                                   214-377-9409 (fax)
                                                   jason.binford@rsbfirm.com
                                                   Assigned: 11/30/23
                                                   Michael Conway
                                                   Lazare Potter Giacovas & Moyle LLP
                                                   747 Third Ave., 16th Floor
                                                   New York, NY 10017
                                                   917-242-1597
                                                   mconway@lpgmlaw.com
                                                   Assigned: 01/23/24
                                                   Ana Pia D. Felix
                                                   Lazare Potter Giacovas Moyle LLP
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                                                   212-758-9300
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                                                   Assigned: 02/07/24




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